Case 19-13079-mdc   Doc 54-1 Filed 04/16/20 Entered 04/16/20 19:08:44   Desc
                      Exhibit Default Letter Page 1 of 3




                      Exhibit “B”
          Case 19-13079-mdc               Doc 54-1 Filed 04/16/20 Entered 04/16/20 19:08:44   Desc
                                            Exhibit Default Letter Page 2 of 3

Jason Seidman

From:                                  Jason Seidman
Sent:                                  Thursday, March 26, 2020 10:46 AM
To:                                    'brad@sadeklaw.com'
Subject:                               BK# 19-13079 (SANITATE)
Attachments:                           NOD.PDF


Hello,

Attached please find a copy of the NOD which is also being sent via regular mail.

Please review and handle accordingly.

Thank you,

Jason Seidman
Administrator
Phelan Hallinan Diamond & Jones, PLLC
2001 NW 64th Street, Suite 100 | Fort Lauderdale, FL 33309
Direct: (954) 462-7000 Ext. 53221 | Fax: (954) 462-7001
Email: jason.seidman@phelanhallinan.com




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                                          Exhibit Default Letter Page 3 of 3



                                          PHELAN HALLINAN DIAMOND &
                                                  JONES, LLP
                                                1617 JFK Boulevard, Suite 1400
                                                    One Penn Center Plaza
                                                    Philadelphia, PA 19103
                                                         215-563-7000
                                                Bankruptcy Fax # 215-568-7616
Mario J. Hanyon, Esquire                                                                       REPRESENTING LENDERS IN
BANKRUPTCY ATTORNEY                                                                                   Pennsylvania


     3/26/2020

     BRAD J. SADEK, ESQUIRE
     1315 WALNUT STREET, SUITE 502
     PHILADELPHIA, PA 19107
     SENT VIA REGULAR MAIL AND EMAILED TO brad@sadeklaw.com

     RE:        THOMAS D. SANITATE
                Bankruptcy No.: 19-13079 MDC

     Dear Counselor:

              Our client has advised us that payments have not been made in accordance with the terms of the Stipulation
     agreed to by the parties and approved by the Bankruptcy Court by an Order entered on February 12, 2020.
                Pursuant to the terms of the Stipulation, your client has failed to make regular monthly payments, for the months
     of February 2020 through March 2020 in the amount of $1,459.25. In order to cure this default, it will be necessary for your
     client to remit $2,918.50, representing payments past due under the terms of the Stipulation, within ten (10) days from the
     date of this letter.
            Your client’s payment to cure this default should be remitted to: Phelan Hallinan Diamond & Jones, LLP,
     1617 JFK Boulevard, Suite 1400, One Penn Center Plaza, Philadelphia, PA 19103, ATTN: Bankruptcy
     Department and made payable to CENLAR FSB.
              If your client does not remit the above amount within the ten (10) day period, we will certify default
     with the Bankruptcy Court and request relief from the automatic stay.

                                                                    Bankruptcy Department
                                                                    Phelan Hallinan Diamond & Jones, LLP

     cc:      THOMAS D. SANITATE
              CENLAR FSB
              ACCOUNT NO.: XXXXXX9968

      THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT. ANY INFORMATION WE
      OBTAIN WILL BE USED FOR THAT PURPOSE. IF YOU HAVE PREVIOUSLY RECEIVED A DISCHARGE
      IN BANKRUPTCY, THIS CORRESPONDENCE IS NOT AND SHOULD NOT BE CONSTRUED TO BE AN
      ATTEMPT TO COLLECT A DEBT, BUT ONLY ENFORCEMENT OF A LIEN AGAINST PROPERTY
